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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                MINUTES OF PROCEEDINGS


                                               DATE OF PROCEEDINGS: 6/17/2019
                                               CRIMINAL DOCKET #: 18-757(BRM)-01
OFFICE: TRENTON
JUDGE BRIAN R. MARTINOTTI
COURT REPORTER: MEGAN MCKAY-SOULE


TITLE OF CASE:
UNITED STATES OF AMERICA
      vs.
Steven Bradley Mell


APPEARANCES:
Danielle Walsman, Assistant United States Attorney
Robert Bianchi, David Bruno & Michael Korbanics, Esquires for Defendant
Defendant present.


NATURE OF PROCEEDINGS: RETRACTED PLEA & SENTENCING HEARING HELD.
Ordered defendant sworn; deft sworn.
Defendant withdrew previously entered guilty plea, which was filed on 12/20/2018.
Revised Plea: Defendant retracted Plea of Not Guilty to a Two-Count Information
             and entered a Plea of Guilty to the Information.
Terms of the plea agreement read into the record.
Ordered plea agreement approved and accepted.
Plea agreement and Rule 11 Form to be filed.
Parties stipulated to proceed to sentencing.
Ordered defendant sentenced to Counts 1 & 2 of the Information.
IMPRISONMENT: 84 months imposed on Count 1 & 84 months imposed on Count 2, each count to
run concurrently, for a total term of 84 months of imprisonment, along with certain
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recommendations made to the Bureau of Prisons.
SUPERVISED RELEASE: 5 years on each count, all terms to run concurrently with special conditions.
RESTITUTION: $35,250.00
FINE: $20,000.00 on each count; total: $40,000.00 .
SPECIAL ASSESSMENT: $100 on each count; total: $200 (due immediately).
JVTA: $5,000.00 on Count 2.
Defendant advised of his rights to appeal.
Further ordered defendant to self-surrender to the institution designated by the Bureau of Prisons,
and on July 1, 2019 at 9:00 a.m.


TIME COMMENCED: 10:00 a.m.
TIME ADJOURNED: 12:20 p.m.
Total Time: 2 hours & 20 minutes
                                                      s/Dana Sledge-Courtney
                                                         Courtroom Deputy
